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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF VIRGINIA


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 IN RE GERBER PRODUCTS COMPANY                                  :
 HEAVY METALS                                                   :
 BABY FOOD LITIGATION                                           :
                                                                :       CASE NO. No. 1:21-cv-00269
                                                                :
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                            NOTICE OF VOLUNTARY DISMISSAL
                             PURSUANT TO F.R.C.P. 41(a)(1)(A)(i)

         Pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(i), plaintiffs ALEXIS BRYAN,

 MILISSA DUCASSE, TALLY ROKOCZ, plaintiffs in action Bryan et al. v. Gerber Products

 Company, No.1:21-cv-00478, consolidated with the above-caption litigation, and JEREMY

 CANTOR, ASHLEY ALLEN, EMILY BACCARI, KAITLYNN CARSON, AMBER

 CAUDILL, NEISHA DANIELS, FELICIA DYKES, JILLIAN GEFFKEN, JESSICA

 GOODPASTURE, HANNAH GRANDT, DOMINICK GROSSI, GALENA GUTIERREZ,

 ANTHONY HARRISON, CHRISTINA HOLLAND, HEATHER HYDEN, MERCEDES

 JONES, LISA LOSIEWICZ, HEATHER MCCORMICK, TERRIE MCDONALD, HALEY

 SAMS,VITO SCAROLA, BAYLEE SCHAEFER, NATALIA STOROSHKO, and ARIANE

 THOMAS, plaintiffs in action Cantor et al. v. Gerber Products Company, No. 1:21-cv-00489,

 also consolidated with the above-caption litigation, hereby give notice that they voluntarily

 dismiss their claims, without prejudice, and without costs.
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 DATE: August 24, 2022                Respectfully submitted,


                                By:    /s/ Mark J. Krudys

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                                 CERTIFICATION OF SERVICE

        I hereby certify that on August 24, 2022, a copy of the foregoing Notice of Voluntary

 Dismissal was filed electronically and served by mail on anyone unable to accept electronic

 filing. Notice of this filing will be sent by e-mail to all parties by operation of the Court’s

 electronic filing system or by mail as indicted on the Notice of Electronic Filing. Parties may

 access this filing through the Court’s CM/ECF System.



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